
MR. JUSTICE SHEEHY,
dissenting:
Again this woman has been handed a gross injustice from the court system of Montana. See State v. Donnes (1980), 187 Mont. 338, 609 P.2d 1213.
This woman has been deprived of proper damages in the case at bar because the courts have assumed that the state lands which she leased were subleased to Joseph Ruff. Yet there is no proof of any such sublease. What the record does show is that she leased her deeded lands to Joseph Ruff for a sum of $13,000.00 per year, and that he was permitted to use the state lands. Permissive use does not amount to a sublease.
The amount of the award in this case is grossly inadequate. I would reverse and remand for a new trial.
